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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA,               )
                                        )       No. 12 CR 723, 13 CR 703, 15 CR 487
                                        )
             v.                         )       Hon. Matthew F. Kennelly
                                        )
ADEL DAOUD                              )
                                        )

    DEFENDANT ADEL DAOUD’S MOTION TO WITHDRAW ALFORD PLEA

      NOW COMES defendant, ADEL DAOUD, by and through his attorney,

QUINN A. MICHAELIS, pursuant to Rule 11(d)(2)(B) of the Federal Rules of

Criminal Procedure, and respectfully requests that this Honorable Court vacate his

plea of November 26, 2018. In support of this motion, Mr. Daoud states as follows:

      1. INTRODUCTION

      On September 20, 2012, Mr. Daoud was charged pursuant to indictment with

attempting to use a weapon of mass destruction, in violation of 18 U.S.C. §

2332(a)(2)(D) and attempting to destroy a building used in an activity affecting

interstate commerce, in violation of 18 U.S.C. § 844(i). (Case no. 12 CR 723). On

August 29, 2013, Mr. Daoud was indicted separately in case number 13 CR 703,

with solicitation of murder, in violation of 18 U.S.C. § 373(a), murder for hire, in

violation of 18 U.S.C. §1958(a), and witness tampering, in violation of 18 U.S.C. §

1512(a)(1)(A). Then, on August 13, 2015, Mr. Daoud was indicted in a third case,

number 15 CR 487, with assault with the intent to commit murder, in violation of

18 U.S.C. §113(a)(1), assault with a dangerous weapon, in violation of 18 U.S.C.§




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113(a)(3), assault resulting in serious bodily injury, in violation of 18 U.S.C. §

113(a)(6), possessing a prohibited object while in federal custody, in violation of 18

U.S.C. § 1791(a)(2), and assault in violation of 18 U.S.C. § 113(a)(4).

        As a result of the incidents leading to the third indictment against Mr.

Daoud, counsel filed an Emergency Motion for an Evidentiary Hearing to Determine

the Mental Competency of the Defendant.” (Doc. 188)1. After a finding that Mr.

Daoud was not competent to stand trial, he was placed in a psychiatric facility,

where he underwent medication and treatment. After approximately one year of

treatment, the staff at his treatment facility determined that Mr., Daoud was

restored to competency. (The Butner Report). After a hearing on the report from

the treatment facility, the Court determined that “Mr. Daoud’s competency had

been restored by consistent treatment with psychotropic medication.” (Doc. 246).

At that competency hearing, Mr. Daoud presented testimony from his own retained

expert, Dr. Stephen N. Xenakis, who concurred with the Butner Report’s conclusion

that Mr. Daoud’s competency had been restored so long as he continued his

medication.

        Mr. Daoud’s cases in 12 CR 723, and 13 CR 703 were consolidated for trial

purpose, and a final pre-trial conference was scheduled for November 13, 2018.

Prior to that pe-trial conference, both the government and Mr. Daoud submitted

jury instructions that included instructions related to an entrapment defense. (Doc.

260, 264).


1Unless otherwise noted, all citations to the docket refer to the docket under case number 12 CR
723.


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       During the final pretrial hearing, both parties engaged in extensive

discussions concerning protecting witness identities, motions in limine regarding

the scope of examinations, proposed voir dire, and courtroom trial procedure. At the

end of final pretrial conference, counsel announced that he intended to file a

pleading requesting the Court accept Mr. Daoud’s plea pursuant to North Carolina

v. Alford.

       After the pretrial conference concluded, Counsel for Mr. Daoud filed the

Defendant’s Motion for Leave to Enter Guilty Pleas Pursuant to North Carolina v.

Alford following the Courts Order Reassigning Case No. 15 CR 487 a Related and

Requests for same. (Doc. 295). Mr. Daoud Advanced two arguments for allowing

him to enter a plea pursuant to North Carolina v. Alford. First, Mr. Daoud had

“credible bona fide defenses, particularly with respect to the entrapment defense

concerning the charges involving the FBI’s creation for the fake bomb ostensibly

capable of destroying a large portion of a downtown city block.” (Doc. 295 at 10).

Secondly, with respect to the third case, number 15 CR 487, Mr. Daoud had a

legitimate mental health defense, but believed that raising such a defense would be

against Mr. Daoud’s best long-term interests. Expanding on that, counsel expressed

significant concern over Mr. Daoud’s mental health, should he proceed to trial:

       While counsel for Defendant will readily attest that they have observed, on
balance, a marked improvement in Defendant’s condition after prescription of
medication, counsel—as well as Defendant’s family—are very concerned about the
impact of stress and rigor of a three or more week trial that will involve amongst
other things, hours of recordings of Defendant’s own statements; extended evidence
of how own writings; numerous witnesses questioning Defendant’s statements,
including his religious beliefs; and possibly even his own testimony. In short, while



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undersigned counsel are not concerned with competency, they can represent to the
Court in good faith that they are legitimately concerned that these proceedings
could adversely affect the medical progress Defendant has made since his treatment
at FMC Butner. (Doc. At 295).

      The government objected to consolidation of Mr. Daoud’s three cases and to

the proposed plea pursuant to North Carolina v. Alford, arguing that “a jury

determination would increase public trust in the proceedings and show defendant,

the community, and the public at large that his entrapment claims are without

merit.” (Doc. 297, at 1). It further characterized Mr. Daoud’s Alford plea as “an

attack on our system of justice.” (Doc. 297, at 8).

      Mr. Daoud now submits his motion to withdraw his guilty plea.

      2. ARGUMENT

      Federal Rule of Criminal Procedure 11(d)(2)(B) allows a defendant to

withdraw his guilty plea at any point before sentencing, upon a showing by the

defendant of “any fair and just reason.” The fair and just standard does not create

an automatic right to withdrawal. United States v. Merriweather, 294 F.3d 930,

931 (7th Cir. 2002).

      Claims of innocence alone do not constitute fair and just reasons to withdraw

a guilty plea, however, “being legally innocent of the crime is a fair and just reason

to withdraw a guilty plea.” United States v. Caban, 962 F.2d 646, 649 (7th Cir.

1992), United States v. Groll, 992 F.2d 755 (7th Cir. 1992) (Defendant allowed to

withdraw her plea on the basis of a valid entrapment defense.)

      When evaluating a motion to withdraw a plea, “the court should consider

whether the proffered reasons are consistent with the testimony and other evidence



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introduced at the Rule 11 hearing, which has a presumption of verity.” Groll, 992

F.2d at 758 (citing United States v. Ellison, 835 F.2d 687, 693 (7th Cir. 1987).

      Here, the plea colloquy demonstrates that Mr. Daoud had several legitimate

defenses amounting to legal innocence which he abandoned at the last minute,

based on his counsel’s concerns over his mental health. The government

acknowledged that Mr. Daoud had made a threshold showing pre-trial to raise an

entrapment defense at trail:

             In order to warrant an entrapment jury instruction, generally the
      defendant must proffer some evidence “that the government induced him to
      commit the crime and that he was not predisposed to commit it.” United
      States v. Mayfield, 771 F.3d 417, 440 (7th Cir. 2014). The government
      recognizes that, at least pre-trial, the defense would meet this bar and will
      not require the defense to make a pre-trial showing. The government reserves
      the right to challenge the appropriateness of the defense, and an entrapment
      instruction, during the charging conference.

      (Doc. 284, footnote 1).

      During the final pretrial hearing, both parties engaged in extensive

discussions concerning protecting witness identities, motions in limine regarding

the scope of examinations, proposed voir dire, and courtroom trial procedure. At

one point, counsel for Mr. Daoud discussed the defenses available to Mr. Daoud:

       Mr. Durkin: It's kind of like having to, to – to give up the, the cross. I mean,
the, the -- the government seems to take a position that the only defense here is
entrapment or, or nullification, which is not the case. And nullification's a red
herring also. Part of the entrapment defense is based on what we intend to argue is
the government's inability, and, and we believe this will come out through their
expert, to sort out inherently non-dangerous people with mental issues or with
immaturity issues, identification issues, what have you, as to whether or not
they're, they're fully dangerous and whether -- or dangerous at all. And, and
whether or not that's a, a fact, and it is a fact.

(Final Pretrial Conf., 11/13/2018 Tr. 25)



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       However, despite engaging in a lengthy final pretrial conference, counsel

announced that he had a resolution to the case that would obviate the need for the

impending Daubert hearing the Court intended to have the following day, as well as

the need for a trial at all:

      MR. DURKIN: (referring to Doc. 87, previously filed on January 17th, 2014)
I thought today we had a solution to this case, or we were going to tell you that
there was a solution. And I'm going to make another motion after this, but these
requests would be related to the motion that I would like to make orally to permit
Mr. Daoud to plead guilty to -- under Alford versus the United States to both the
two charges here and the third charge before Judge Dow on the condition that the
Judge Dow case be brought to your court under relatedness. And let me explain. We
had a –

       THE COURT: Is this the first the government's

       MR. JONAS: Yes, Your Honor.

       MR. DURKIN: Yes.

       THE COURT: Why, Mr. Durkin?

       MR. DURKIN: Pardon me?

       THE COURT: Why is this the first they're hearing of this suggestion?

      MR. DURKIN: Well, because I, because I thought -- because I didn't think I
was going to have to make this request.

(Final Pretrial Conf., 11/13/2018, Tr. 72-73)

       ***********

       MR. DURKIN: But going back to Alford. You know what his mental condition
is. You know he is under medication. You know that in the past stress has caused
him considerable difficulty. I am concerned. I'm not saying that he's not competent
to stand trial. He, he -- he is by all indications. I'm simply saying as a reason to
submit an Alford plea, he, he does have issues regarding stress. And I think Dr.
Xenakis would back that up. So that's, that's a reason.



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       There are also what I would call evidentiary reasons. There are also issues
with respect to the sheer prejudice that he will inure, and I don't know how we can
avoid it, and some of it is certainly his own doing. Obviously we're going to be
admitting by the entrapment defense that he did certain things, and they're going
to parade this bomb in, and it's going to speak for itself. I think that's asking an
awful lot for a jury to ignore the evidence.
       The government, I always laugh when they get worried about nullification in
a case like this. How anybody would ever nullify this case is -- and I've been trying
cases I think longer than the three of them put together. If, if there's a jury in the
United States that would nullify this case, then I'll be shocked. But that's another
reason. The other case is further complicating it.

     THE COURT: And that's the one where somebody was attacked because they
had written something or done something –

      MR. DURKIN: Yes.

      THE COURT: -- on the face of the illustration or something?

         MR. DURKIN: Yes. Yes. Well, I was talking about -- we, we refer it to as
three cases. I mean, there's, there's really one case, which is the two counts that the
-- let's do --

      MR. JONAS: Two CRs.

      MR. DURKIN: -- bombing -- let's do bombing, solicitation.

      THE COURT: Those are the two.

       MR. DURKIN: Which is here. The solicitation case on top of this case, and I, I
consented to it, so I'm not arguing; but it's kind of the similar issue I have with
respect to the case with Judge Dow. We -- it's, it's impossible to have another case
hanging over your head, to be blunt. And the solicitation case is very very difficult
to defend. We believe there are legitimate defenses to it. Whether they're sufficient
to arise to an acquittal, I don't know. But I think, again, there are facts that we
could set forth that would justify an Alford plea in that case as well.
       The third case is an even more classic example, because the fact remains that
the only defense available to him in the third case is a mental defense, which for all
the reasons we've discussed ad nauseam when we were going through the
competency issues, we don't want to raise a mental defense. We don't think that's in
his interests either. We, we don't want him locked up forever on a mental defense,
to be perfectly blunt. Again, that's another reason for -- that, that would justify an
extraordinary circumstance for an Alford plea.




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       THE COURT: All right. I understand. So government you want to state what
your knowledge is on this, and then particularly state the -- let's say I pretty much
know what your position is on the Alford plea. But as to -- they're going to put it in
writing, but just generally about the other case position of -- you know, at one time I
was just overwhelmed with the case and all the different parts of it. But even if I
did not agree with counsel's position as to Alford, as to the idea of having another
trial with another judge on a case that has been pending all this young man's
adult life, I have a little bit of a problem with that. Me not handling that one too.
What's your position on that?

       MR. JONAS: There's multiple issues here, Judge. My head is swimming. This
just came out of left field.

      THE COURT: All right. Well, why don't you go ahead and write your motion,
and then you can respond.

(Final Pretrial Conf., 11/13/2018, Tr. 76-80).

      In both the Motion for Leave to Enter a Guilty Plea, and the subsequent plea

colloquy, Mr. Daoud’s counsel expressed concerns that proceeding to trial would

cause Mr. Daoud’s mental state to deteriorate:

       THE COURT: If you were to focus on one particular element over another,
would it be that it would be the mental health issues—I don’t think despite the time
that the Court has had Mr. Doud before it that we’ve never had a full vetting in
front of him of all of the evidence in a hearing like setting. I don’t believe we’ve ever
had that, isn't hat correct?

      MR. DURKIN: That’s right.

      THE COURT: Is that correct, Mr. Jonas?

      MR. JONAS: that’s correct, Your Honor.

      THE COURT: And so would that be your pecking order, your first and
foremost reason for following through here—

      MR. DURKIN: I think—

      THE COURT: --as opposed to the—




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       MR. DURKIN: I think that would be the most, the most overwhelmingly
clear choice if I had only one choice.

      THE COURT: Well, you don’t only have one choice.

      MR. DURKIN: No, I understand.

      THE COURT: The Court just wanted to, to find out if it was his own
personal mental health situation—

      MR. DURKIN: Yes.

       THE COURT: -- that was paramount over, and then obviously you’re saying
the environment that potential jurors might be exposed to in this case might affect
the second—

       MR. DURKIN: Well, let me explain the first one, Judge. It has been our
experience with Mr. Daoud that stress has not been good for him in light of his
condition. As you know, he was incarcerated for lengthy periods of time in the SHU
or segregated housing. That was never helpful, although I’m sure necessary from
the MCC standpoint or Bureau of Prisons’ standpoint. It has been our experience
that since he’s come back from Butner he has been a different person. He has been
very cooperative with us. He has been very helpful in, in discussing the case with
us.
       Inf act, he provided us with considerable written documents written by his
own hand that were cogent and intelligent and, and very supportive, particularly of
the entrapment defense. It was well reasoned. It was certainly beyond what I
would have expected from someone with a high school education. He has been very
very thorough with the discovery. He has inundated us sometimes with more
information than we probably needed, but he certainly gave us his view of the
evidence. That said, in our experience stress has not been good for him. And I
think that as is obvious from the government proffer, having to sit through all of
this evidence would have been extremely stressful.
       So I think while that is our first and foremost reason and the other reasons
I’ve set forth, I think there is more than enough of a basis for the Court to use its
discretion and accept an Alford plea under the circumstances.

       THE COURT: The other question the Court has is there’s a 19-page – 18 and
a half pace factual basis that the government has presented. Has your client read
and looked at that?

      MR. DURKIN: Yes.

      THE COURT: Okay.



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       MR. DURKIN: He’s – not only has he read it, we have discussed it with him
in great detail. And he does not contest those facts per se as they’re written. The
discussions we’ve had with him, and they’ve been largely with Mr. Herman and
Miss Lyon, his comments have been not to challenge the actual evidence that’s
presented, but to challenge the context in which the—some of the statements are
made.

       THE COURT: Not surprising. All right. The other question—the court just
wanted to make sure, since this is so detailed if you were worried about –again,
even something like this has not been set forth over the course of these six years. I
wanted to make sure that your concern about how he would be affected wouldn’t be
affected by a factual basis being presented by the government with my presumption
that the government intends to read all 18 and a half pages, correct?

(Change of Plea Hrg., 1/29/2019, Tr. 39-41).

      Here, it appears that Mr. Daoud’s previous counsel’s concerns about Mr.

Daoud’s mental health trumped all other paths forward, despite the Court’s

findings that Mr. Daoud had been restored to competency, and counsel’s admissions

that Mr. Daoud presented to him well-reasoned analysis of his entrapment defense.

Further, the specific conditions that counsel cited as contributing to Mr. Daoud’s

destabilizing stress-- his long periods of isolated confinement, his inability to receive

visitors or practice his religion, had been remedied by the date of the change of plea

hearing.

      Additionally, Mr. Daoud’s attorney expressed doubt that Mr. Daoud could

receive a fair trial in light of the charges he was facing and prevailing attitudes

about the type of charges he was facing:

      MR. DURKIN: But fair trials on a legal standard and the reality of dealing
with a jury in 2018 in a case such as this, it is my judgment that this is the correct
and appropriate way to proceed.

(Change of Plea Hrg. 1/29/2019, Tr. 38).



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       Finally, when previous counsel proposed proceeding by way of an Alford plea,

the government objected to both the consolidation of cases under one cause number,

as well as to the court’s acceptance of the plea. The government noted that

“[d]efendant has spent the six years emphasizing in court appearances and filings

and during press conferences what he views as the impropriety of the government’s

actions, its policies, and its agents’ conduct…Defendant’s claims serve to foster

public distrust of the government –indeed that is the very reason defendant makes

them. Moreover, defendant impugns the entire judicial system.” (Doc. 297, at 11)

       At the conclusion of the recitation of the statement of facts during the change

of plea hearing, the government restated their objection, “we object to the taking of

the Alford plea. We believe it’s the public interest that a defendant should either be

found guilty at trial or should admit his guilty and not reserve innocence.” (Change

of Plea tr. 63).

       The government seemed primarily concerned about Mr. Daoud’s continued

assertion of legal innocence and how this continued assertion undermined the

integrity of the judicial process. During the change of plea hearing, Mr. Daoud

reasserted his reasons for entering a plea while maintaining his innocence, and the

government reasserted its desire to have Mr. Daoud publicly admit guilt. The

government’s proffered reasons for opposing Mr. Daoud’s Alford plea present

further fair and just reasons for allowing Mr. Daoud to withdraw his plea.




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   WHEREFORE, ADEL DAOUD respectfully requests that this Honorable Court

grant his request to withdraw his plea pursuant to North Carolina v. Alford, and set

the matter for trial.



Respectfully Submitted,

s/ Quinn A. Michaelis

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                               CERTIFICATE OF SERVICE


      The undersigned attorney certifies that the foregoing MOTION TO

WITHDRAW PLEA was served on October 3, 2022 in accordance with

Fed.R.Crim.P.49, Fed.R.Civ. 5, LR 5.5, and the General Order on Electronic Case

Filing (ECF), pursuant to the district court’s system as to ECF filers.




s/ Quinn A. Michaelis
Quinn A. Michaelis




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